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 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                     Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11
12         The Court ordered the parties to file a joint status report (JSR) by 3:00 pm on

13 October 20, 2020, in anticipation of the status conference scheduled at 1:30 pm on
14
     October 22, 2020. The parties submit this joint status report in accordance with the
15
16 Court’s instruction.
17 ///
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19 ///
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21 ///
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     I.       DEFENDANTS’ POSITIONS
 1
 2         A. Update Regarding Government’s Implementation of Settlement
 3            Agreement

 4              SETTLEMENT                     DESCRIPTION                       NUMBER
                   PROCESS
 5          Election Forms 1              Total number of executed         440 (258 Parents/182
                                          election forms received               Children)2
 6                                        by the Government
                                             • Number who elect            278 (155 Parents/123
 7                                               to receive                      Children)
                                                 settlement
 8                                               procedures
                                             • Number who                   162 (103 Parents/59
 9                                               waive settlement                Children)3
                                                 procedures
10          Interviews                    Total number of class                      1724
11                                        members who received
                                          interviews
12                                           • Parents who                            90
                                                 received
13                                               interviews
                                             • Children who                           82
14                                               received
                                                 interviews
15          Decisions                     Total number of CFI/RFI                     71 5
                                          decisions issued for
16                                        parents by USCIS
17
     1
         The number of election forms reported here is the number received by the Government as of
18 August 13, 2020. No additional forms have been received since that time.
19 2 The number of children’s election forms is lower than the number of parent election forms
     because in many instances a parent electing settlement procedures submitted an election form on
20 his or her own behalf or opposing counsel e-mailed requesting settlement implementation for the
21 entire family, but no separate form was submitted on behalf of the child.
     3
         The number of children’s waivers is lower because some parents have submitted waivers only
22 for themselves and some parents who have waived reunification also waived settlement procedures
   and have therefore not provided a form for the child.
23
     4
         Some individuals could not be interviewed because of rare languages; these individuals were
24 placed in Section 240 proceedings. This number includes credible fear and reasonable fear
     interviews, as well as affirmative asylum interviews.
25
     5
         This number is the aggregate of the number of parents whose negative CFI/RFI determinations
26 were reconsidered, number of parents whose negative CFI/RFI determination was unchanged, and
     individuals who were referred to 240 proceedings without interview because of a rare language.
27
28

                                                     2                                18cv428 DMS MDD
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                                                • Number of parents                       69 6
 1                                                 determined to
                                                   establish CF or RF
 2                                                 upon review by
                                                   USCIS
 3                                              • Number of parents                        2
                                                   whose CF or RF
 4                                                 finding remains
                                                   negative upon
 5                                                 review by USCIS
                                            Total number of CFI                           73 7
 6                                          decisions issued for
                                            children by USCIS
 7                                              • Number of                               73 8
                                                   children
 8                                                 determined to
                                                   establish CF by
 9                                                 USCIS
                                                • Number of                                0
10                                                 children
                                                   determined not to
11                                                 establish CF by
                                                   USCIS
12                                          Total number of                               21
                                            affirmative asylum
13                                          decisions by USCIS
                                                • Number of parents                        2
14                                                 granted asylum by
                                                   USCIS
15                                              • Number of parents                        5
16                                                 referred to
                                                   immigration court
17                                              • Number of                                39
                                                   children granted
18                                                 asylum by USCIS

19
   This number excludes 12 cases where a parent already had an NTA from ICE or was already
20 ordered removed by an IJ (which are included in the interview totals).
   6
21 This number includes parents who received positive CF/RF determinations upon reconsideration,
   parents who received a Notice to Appear based on their child’s positive CF determination, and
22 parents who were placed in Section 240 proceedings due to a rare language.
     7
         This number is the aggregate of the number of children who received a positive CF determination,
23 the number of children who received a negative CF determination, and children who were referred
24 to 240 proceedings without interview because of a rare language.
     8
         This number includes children who received a positive CF determination, children who received
25 a Notice to Appear as a dependent on their parent’s positive CF determination, and children who
26 were placed in Section 240 proceedings due to a rare language.
     9
         This number includes children granted asylum as a dependent on their parent’s asylum
27
28

                                                       3                                  18cv428 DMS MDD
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                                          • Number of                       11
 1                                            children
                                              referred/returned
 2                                            to immigration
                                              court
 3
         Removals                      Number of class                 103 Parents10
 4                                     members who have been
                                       returned to their country
 5                                     of origin as a result of
                                       waiving the settlement
 6                                     procedures

 7
        B. Expanded Class Members
 8
 9         On April 25, 2019, the Court approved Defendants’ Plan for identifying

10 members of the expanded class. In advance of the Court’s October 25, 2019
11
     deadline, Defendants completed the process of identifying members of the expanded
12
13 class and produced spreadsheets identifying those individuals to Plaintiffs’ counsel.
14 On November 6, 2019, the Steering Committee notified Defendants that in the 11
15
     batches there were 149 individuals who had been identified by the government as
16
17 being both children of potential expanded class members and “exclusions.” On
18 December 13, 2019, Defendants provided Plaintiffs with their completed review and
19
     reconciliation of the 149 individuals with inconsistent labels.
20
21         On February 7, 2020, Defendants reached out to Plaintiffs to request that

22 Plaintiffs provide Defendants with an update regarding their efforts to locate and
23
   reunify members of the expanded class. Following multiple meet and confer
24
25
26 application.
27 10 This number is as of September 26, 2020.
28

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     discussions, on July 5, 2020, Plaintiffs provided Defendants with an updated
 1
 2 spreadsheet containing information regarding members of the expanded class, and
 3
     identifying members of that class about whom Plaintiffs requested to meet and
 4
 5 confer. Defendants reviewed the information provided and asked Plaintiffs some
 6 follow-up questions, to which Plaintiffs responded on August 6, 2020.
 7
          The parties are continuing to discuss this issue to determine if it can be
 8
 9 resolved or whether it will require intervention from the Court. The parties have
10 scheduled a meet and confer to discuss these issues on Thursday, October 22, 2020.
11
       C. Government Processes, Procedures, and Tracking, for Separations Since
12        June 26, 2018.
13
          Data Requested by Plaintiffs. Defendants continue to provide Plaintiffs
14
15 updated reports containing information regarding parents and children separated
16 since the Court’s June 26, 2018 Order on a monthly basis.
17
          Processes and Procedures.
18
19        In the May 27, 2020 Joint Status Report, Defendants provided the court with

20 updated reporting regarding the various steps it has taken to implement Paragraph 5
21
   of the preliminary injunction, ECF No. 83 at 24, ¶ 5, and improve the processes and
22
23 procedures for information sharing between the agencies related to family
24 separations. Following the July 10, 2020 status conference, the Court ordered that
25
   “Defendants shall provide a declaration from the Assistant Commissioner of OIT or
26
27 other appropriate designee setting out the status of the development of the UIP and
28

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     estimated completion date. The declarant should also address the Court’s concerns
 1
 2 about how the UIP will enable parents in criminal custody access to their children’s
 3
     location information and how the UIP will assist in reunification efforts when a
 4
 5 parent is transferred from criminal custody to immigration custody.” ECF No. 543
 6 at 2. Defendants provided that information in the August 19, 2020, Joint Status
 7
     Report, including a declaration from Robert J. Costello, Executive Director, Office
 8
 9 of Information Technology, Enterprise Services, U.S. Customs and Border
10 Protection, U.S. Department of Homeland Security. ECF No. 547. Following the
11
     status conference on August 21, 2020, the Court ordered the government to provide
12
13 in the next report “a supplemental declaration from Mr. Costello on the progress of
14 the UIP.” In accordance with the Court’s order, Defendants provide the attached
15
     declaration.
16
17 II.     MS. L. PLAINTIFFS’ POSITION
18
       A. Steering Committee Outreach to Sponsors and Parents of Children of
19        Expanded Class Members
20
           The government has provided eleven lists identifying 1,556 children of
21
     potential expanded class members. Plaintiffs have focused on reaching children
22
     whose membership in the class is not contested, and for whom the government has
23
     provided at least one phone number for a sponsor or for the child’s parent. 11
24
           11
           The eleven lists identify a total of 1,556 unique children, 1,134 of which
25 have been confirmed by the government as being children of potential expanded
   class members. For 104 of these 1,134 children of potential class members, the
26 government has not provided a phone number. Parents of the 422 children who
   have not been identified by the government as potential expanded class members
27
28

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 1         As of October 20, the Steering Committee has attempted to reach the
 2 families of all of these 1,030 children, and has successfully reached the parents (or
 3 their attorneys) of 485 children, an increase of 47 children since the last status
 4 report.
 5         As a result, 545 children remain for whom the Steering Committee has not
 6 yet reached the separated parent, approximately two-thirds (66%) of whom are
 7 believed on the basis of the last information available from the government, to be
 8 in their respective countries of origin. For all of these families, the Steering
 9 Committee’s prior telephonic outreach attempts have not been successful in
10 reaching the parent, and as further telephonic outreach attempts are not expected to
11 result in successful contact with the separated parent, the Steering Committee has
12 commenced or intends to commence additional efforts to locate the separated
13 parent, as discussed below.
14         As reported in the last Joint Status Report, the Steering Committee’s
15 additional efforts to locate separated parents have been hampered since March of
16 this year due to COVID-19. However, as discussed below and as demonstrated in
17 the increase in parents successfully contacted since the last Joint Status Report,
18 limited on-the-ground efforts to find separated parents have re-commenced where
19 conditions have permitted search activities to resume safely.
20         The Steering Committee has conducted and continues to conduct further
21 outreach to families who have tentatively indicated that they are not satisfied with
22 the current separation from their child and who may want their child returned to
23 their country of origin. Following discussions with these parents, the Steering
24 Committee has yet to identify any families that definitively seek to have their child
25
26 have been categorized as “exclusions”. The Steering Committee also intends to
   reach individuals the government has categorized as excluded from the class, and
27 Plaintiffs reserve the right to contest those exclusions.
28

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 1 returned to their respective countries of origin. Our outreach to these families
 2 continues and we will advise the government if and when any cases arisen in
 3 which a parent seeks to have their child returned, prior to bringing any such cases
 4 requiring further assistance to the attention of the Court. As noted above, the
 5 Steering Committee has experienced delays and anticipates further delays in being
 6 able to obtain and provide this information to the government as a result of the
 7 outbreak of the novel coronavirus and its continued spread across the United States
 8 and various Central American countries, but will continue to keep the government
 9 and the Court informed of its progress.
10     B. Steering Committee Progress Contacting “Unreachable” Parents
11
           As noted in previous Joint Status Reports, the Steering Committee has
12
     commenced extensive efforts to locate the “unreachable” parents in their respective
13
     countries of origin, a group now comprised of the parents of 470 children
14
     (representing the subset of the parents of 545 children that the Steering Committee
15
     has not yet successfully contacted and for whom the Steering Committee does not
16
     expect telephonic outreach attempts to be successful). Over the last several months,
17
     the Steering Committee has continued its additional outreach initiatives in an
18
     attempt to reach these parents.
19
           First, as previously reported, the Steering Committee has engaged in time-
20
     consuming and arduous on-the-ground searches for parents in their respective
21
     countries of origin. Following a suspension due to the COVID-19 pandemic,
22
     limited physical on-the-ground searches for separated parents has now resumed
23
     where possible to do so while protecting the health of personnel working with the
24
     Steering Committee and members of vulnerable communities in separated parents’
25
     home countries. As of October 20, defenders with Justice in Motion had
26
     commenced efforts to locate the “unreachable” parents of 502 children, and had
27
28

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 1 successfully located the parents of 187 of those children. During this time, the
 2 Steering Committee has used contact information obtained by Justice in Motion’s
 3 defenders to communicate with, and ascertain the reunification preferences of,
 4 parents who had formerly been designated as “unreachable”. The Steering
 5 Committee intends to continue physical on-the-ground searches while it remains
 6 safe to do so, and will continue to update the Court on its progress, particularly if
 7 such searches must be limited or suspended again due to travel restrictions or
 8 health risks.
 9         Also as previously reported, the Steering Committee has established toll-free
10 telephone numbers in the United States, Guatemala, Honduras, Mexico and El
11 Salvador to receive inbound phone calls from potential members of the expanded
12 class. The Steering Committee has distributed this number both by email and U.S.
13 Mail to a number of non-governmental organizations and other community
14 organizations in the United States, who may be able to help us locate parents
15 because they work in the communities these parents are likely to have contact with.
16 In addition, the Steering Committee sent letters in Spanish and English to
17 approximately 1,600 addresses provided by the government for the potential class
18 members that the Steering Committee has not yet reached. These letters explain
19 our role in this action and invite parents to contact the Steering Committee to call
20 these toll-free numbers. The Steering Committee continues to monitor voicemail
21 boxes reachable via these toll-free numbers.
22         Additionally, as previously reported, the Steering Committee has
23 commenced broad-based media outreach efforts to publicize the toll-free phone
24 numbers created by the Steering Committee in Spanish language media. As noted
25 in the last several Joint Status Reports, outreach efforts to these third-party media
26 outlets have not yet resulted in broad dissemination of the Steering Committee’s
27 toll-free numbers, which the Steering Committee believes to be due in large part to
28

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 1 the continuing effects of the novel coronavirus. While new inbound calls to the
 2 toll-free numbers have ceased, the Steering Committee is working to identify
 3 opportunities to broadly disseminate the toll-free numbers through various media
 4 to maximize visibility to potential Ms. L. class members, including most recently
 5 by seeking to collaborate on such media outreach initiatives with other non-profit
 6 organizations. The Steering Committee will continue to update the court on these
 7 efforts.
 8         Finally, also as previously reported, the Steering Committee has been in
 9 communication with Seneca Family of Agencies (“Seneca”), a non-profit
10 organization that has contracted with the Department of Health and Human
11 Services to connect certain Ms. L. class members in the United States with mental
12 health providers, pursuant to a preliminary injunction in Ms. J.P., et al. v. William
13 P. Barr, et al. (2:18-cv-06081-JAK-SK, C.D. Cal.). The Steering Committee
14 remains hopeful that this work will enable the Steering Committee to obtain
15 contact information for currently unreachable parents in the Ms. L. class, and to
16 locate such parents, particularly those believed to be within the United States and
17 thus within the scope of Seneca’s work. The Steering Committee intends to use
18 this information to conduct further outreach to class members to ascertain their
19 preferences with respect to reunification.
20     C. Meeting and Conferring Regarding Deported Expanded Class Members
21
           Plaintiffs have sought to meet with the government to further discuss relief
22
     that expanded class members may seek under the Court prior rulings as to deported
23
     parents who sought return. That initial meeting is set for this Thursday, prior to the
24
     status conference.
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       D. Results of October Survey of Legal Services Providers and Information
 1        Sharing
 2         Legal Services Providers (LSPs) are filing, in a separate docket entry, a
 3 report of information sharing discussions, as well as results from a survey
 4 conducted this month. The survey sought to determine what information the
 5 providers, in recent months, were able to obtain from the government about a
 6 separated child’s parent, and what information the providers were not able to
 7 obtain.
 8       Of note, it appears that about half of respondents reported that they continue
 9 not to be able to obtain information about the location of a child’s parent if the
10 parent is in U.S. Marshals’ custody. That lack of information is consistent with
11 prior inspector general reports raising concerns that ORR does not receive
12 necessary information about a parent’s location from the U.S. Marshals Service.
13 See, e.g., Communication and Management Challenges Impeded HHS’s Response
14 to the Zero-Tolerance Policy, (filed at ECF No. 524), at 26 (“Facility staff reported
15 that U.S. Marshals Service staff told them it did not have the same obligations as
16 DHS to share information about parents with ORR. As of April 2019, ORR staff
17 reported that the UAC Program continued to experience significant difficulties
18 obtaining information about parents who were in U.S. Marshals Service custody.”)
19
           Plaintiffs await further updates from the government as to the
20
     implementation of new information-sharing systems and any agreements requiring
21
     information sharing among governmental agencies, such as between the ORR and
22
     the Department of Justice. See id. at 41 (“[N]o current agreement requires DOJ to
23
     coordinate with ORR or provide information about parents’ locations, which has
24
     led to ongoing difficulties locating parents in U.S. Marshals’ custody.”)
25
           Finally, with respect to ongoing discussions of information the government
26
     agrees to provide to LSPs, Plaintiffs have also sought further clarification from the
27
28

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     government on one issue. That issue is whether the government will agree to
 1
     provide a parent’s Letter of Designation for their child and the parent’s Notice of
 2
     Potential Rights form, to an LSP that requests such forms, and whether the
 3
 4 government agrees to seek any consent from a parent that it believes is needed to
 5 provide those forms. Other issues are discussed and summarized in the LSPs’
 6 filing.
 7      III.    MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 8
             The parties continue to work together to implement the settlement agreement
 9
10 approved on November 15, 2018. Class counsel are providing the Government with
11 signed waiver forms as they are received from class members, and class counsel are
12
     continuing to work on outreach efforts to class members who may qualify for relief
13
14 under the settlement. The parties continue to meet and confer on issues related to
15 settlement implementation as they arise.
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                                              12                             18cv428 DMS MDD
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     DATED: October 20, 2020         Respectfully submitted,
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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA


  MS. L., et al.,                                )
                                                 )
            Plaintiffs,                          )
                                                 )
  v.                                             )      CASE NO. 18cv428 DMS MDD
                                                 )
  U.S. IMMIGRATION AND CUSTOMS                   )
  ENFORCEMENT, et al.,                           )
                                                 )
            Defendants.                          )
                                                 )

                           DECLARATION OF ROBERT J. COSTELLO

            I, Robert J. Costello, pursuant to 28 U.S.C. § 1746, and based upon my personal

  knowledge and information made known to me from official records and reasonably relied upon

  in the course of my employment, hereby declare as follows, relating to the above-captioned

  matter:

  1.        I am currently an Executive Director with the Office of Information Technology (OIT),

            Enterprise Services, U.S. Customs and Border Protection (CBP), U.S. Department of

            Homeland Security (DHS). I am currently serving on detail to the Border Enforcement

            and Management Systems Directorate since March of 2017, and concurrently in the

            permanent role of the Executive Director of Enterprise Networks and Technology

            Support. I have served as an Executive Director of OIT since August of 2017. Prior to

            this, I was the Deputy Executive Director of Field Support within OIT. I have over

            twenty-five years of information technology leadership experience as a senior

            information technology executive in federal government and private sector, including at

            U.S Immigrations and Customs Enforcement (ICE) and the U.S Air Force.


                                                 1
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  2.    As I have previously outlined for this court, in my current role, I am responsible for

        management and oversight of the programs assigned to my directorate, which includes

        the Unified Immigration Portal (UIP). I am familiar with the development of the UIP,

        and I meet daily with the program team and participate in bi-weekly briefs to the

        Assistant Commissioner of OIT and agency leadership on the UIP.

  3.    I previously submitted a declaration to this court on August 19, 2020 regarding the

        development of the UIP and its current status. During the August 21, 2020 status

        conference in this case, the court requested that I submit an additional declaration

        identifying the progress that CBP OIT has made on the UIP since my previous

        declaration, an approximation of the future steps to be taken with regards to the UIP, and

        if possible, a time of completion for the UIP.

  4.    As outlined in my previous declaration, CBP OIT, working with its partners in the U.S.

        government, is developing the UIP, which is intended to be a technological platform

        where authorized users within the U.S. government can access relevant immigration-

        related data from multiple agencies through a single interface, to enable a more complete

        understanding of an individual’s journey throughout the immigration system. In short,

        the UIP will serve as a centralized location for agencies to share certain information

        about individuals in the immigration process.

  5.    Currently, the UIP development team is continuing to work with its federal partners to

        establish the UIP as expeditiously as possible. Since my original declaration, the team

        has completed several additional important steps, such as piloting use of the platform by

        users in CBP’s Office of Field Operations, CBP’s United States Border Patrol, and ICE

        Enforcement and Removal Operations (ERO) in several locations on the southwest



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        border. The goal for these pilots is for users to gain familiarity with the system and to

        create a feedback loop to make system enhancements based on real-world use. The UIP

        team also continues to work with the Department of Health and Human Services (HHS)

        Office of Refugee Resettlement (ORR) on an unaccompanied alien child(ren) (UAC)

        referral service which will automate data sharing between DHS and HHS for UAC

        placement requests. Utilizing this service, the UIP will automatically capture when a

        request for HHS placement was made by CBP, when the request was received by HHS,

        and when placement was secured by HHS. The UIP will also automatically share

        biographic and referral information—eliminating duplicate data entry and streamlining

        the placement process. These new services are currently being tested by teams from UIP

        and HHS, and will be rolled-out in conjunction with the deployment of HHS’ PATH

        system. In addition to the pilots described above, the UIP team has on-boarded new users

        from ICE’s Juvenile and Family Residential Unit (JFRMU) and is working on ways to

        streamline information sharing between JFRMU and HHS. The UIP team also helped

        establish and participates in a working group with components from DHS and HHS to

        create data standards to ensure consistent data terminology across both agency’s systems.

  6.    As discussed previously, the UIP development team is utilizing a flexible buildout to

        adapt to shifting business and operational needs. This flexible approach has also allowed

        the establishment of the UIP to adjust to factors outside of the development team’s

        control, such as the global pandemic. As a result of the flexible buildout, the UIP is

        being developed on a fluid timeline, and thus the UIP is being implemented in phases,

        rather than with fixed deadlines. Currently, the UIP is within its second phase. The goal

        of this phase is to develop the technical solution to enable data standardization and



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        sharing. In other words, if the UIP was a house-building project, when Phase 2 is

        complete, we will have the foundation, walls, and roof.

  7.    The next phase, Phase 3, will include further data integration across agencies as agency

        partners incorporate UIP services into their software modernization efforts. This may

        include the development of capabilities that facilitate sharing electronic documents across

        agencies, providing and receiving a real-time stream of data between agencies (e.g.

        sharing data about immigration proceedings between DHS and the Department of Justice

        Executive Office for Immigration Review), and expanding visualization via dashboarding

        tools within the UIP.

  8.    In light of the flexible buildout for the development of the UIP, the team is unable to

        provide an estimated date of completion for the project, but continues to make diligent

        progress. That said, the second phase is projected to be completed by the end of this

        calendar year, and Phase 3 is currently projected to be completed by the end of the first

        quarter of fiscal year 2022 (December 2022). It should be noted that, with the

        completion of Phase 3, the UIP will complete its full operating capability milestone. This

        means that major architecture, design, and development work will be complete and it will

        enter into operations and maintenance. To continue the house-building analogy, at the

        end of this Phase, the UIP will be fully built, with electrical, plumbing, etc., and the

        program will be ready for move-in and furnishing (i.e., the team will continue to add

        data-feeds and expand sharing services as operational needs require).

  9.    As outlined in my previous declaration, the intent of the UIP is to facilitate the sharing of

        immigration-related information across agencies. Therefore, the UIP will facilitate the

        following types of information sharing:



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            a. If an alien parent and child are separated upon encounter because the parent is

               referred for prosecution, the UIP will reflect that the parent was referred for

               criminal prosecution and transferred to criminal custody. Therefore, all users of

               the UIP (including CBP, ICE, and HHS users) will be able to view that the

               parent is in criminal custody. Because the UIP is intended to provide

               information about an individual’s progression through the immigration system,

               the UIP will not contain information regarding the parent’s criminal trial or

               specific information regarding the parent’s location in U.S. Marshals Service or

               Federal Bureau of Prisons custody. Additionally, for this same reason,

               prosecutors and public defenders will not have access to the UIP. However, in

               this scenario, the UIP will show the HHS facility to which the child was

               referred. If, following the parent’s release from criminal custody, the parent is

               transferred to ICE custody, the UIP will reflect the specific ICE detention

               facility where the parent is detained, such that users of the UIP at both ICE and

               HHS may be able to facilitate communication between the parent and child,

               and/or reunification where appropriate. The UIP will also reflect any transfer of

               the parent to a different location in ICE custody. The UIP will also include an

               annotation that the parent had previously been separated from their child.

            b. Similarly, if an alien parent and child are separated upon encounter for some

               other reason, users of the UIP (including CBP, ICE, and HHS) will have access

               to information regarding the encounter and the reasons for the separation.

               Additionally, users of the UIP will be able to view the specific ICE facility to

               which the parent was referred, and the specific HHS facility to which the child



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                  was referred. Users will also have information about any transfers of the parent

                  or child to other locations in HHS and ICE custody.

  10.    I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

         knowledge, information, and belief.




  Executed this 20th day of October, 2020.




                                                                                       10/20/2020
                                                       ____________________________________
                                                       Robert J. Costello
                                                       Executive Director
                                                       Office of Information Technology
                                                       Enterprise Services
                                                       U.S. Customs and Border Protection




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